     Case 2:07-cr-00689-GW Document 163 Filed 08/03/08 Page 1 of 6 Page ID #:1182



 1   THOMAS P. O’BRIEN
     United States Attorney
 2   CHRISTINE C. EWELL
     Assistant United States Attorney
 3   Chief, Criminal Division
     DAVID P. KOWAL (Cal. Bar No. 188651)
 4   RASHA GERGES (Cal. Bar No. 218248)
     Assistant United States Attorneys
 5   OCEDTF Section
          1400 United States Courthouse
 6        312 North Spring Street
          Los Angeles, California 90012
 7        Telephone: (213) 894-5136/6530
          Facsimile: (213) 894-0142
 8        E-mail:   david.kowal@usdoj.gov
                    rasha.gerges@usdoj.gov
 9
10   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
11
12                        UNITED STATES DISTRICT COURT
13                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
14    UNITED STATES OF AMERICA,       )    CR No. 07-689-GW
15                                    )
                        Plaintiff,    )    GOVERNMENT'S OBJECTION TO DEFENSE
16                                    )    INSTRUCTION AND REQUEST
                   v.                 )    ADDITIONAL PROPOSED
17                                    )    CHANGES TO JURY INSTRUCTIONS
      CHARLES C. LYNCH                )    CIRCULATED BY COURT ON AUGUST 1,
18                                    )    2008
                        Defendant.    )
19                                    )
                                      )
20                                    )
                                      )
21
22        On August 1, 2008, the Court circulated a revised series of

23   proposed jury instructions to the parties.         A copy of these

24   instructions (the "jury instructions") is attached hereto and

25   filed concurrently herewith.         On August 2, 2008, the government

26   provided the Court with proposed changes to these jury

27   instruction organized by jury instruction number.          Defense

28   counsel filed an additional proposed instruction on August 3,
     Case 2:07-cr-00689-GW Document 163 Filed 08/03/08 Page 2 of 6 Page ID #:1183



 1   2008.   Attached hereto are the government's objections to defense
 2   counsel's proposed instruction as well as two additional proposed
 3   changes to the instructions offered by the government.
 4
 5   Dated: August 3, 2008              Respectfully submitted,
 6                                      THOMAS P. O’BRIEN
                                        United States Attorney
 7
                                        CHRISTINE C. EWELL
 8                                      Assistant United States Attorney
                                        Chief, Criminal Division
 9
10                                                 /s/
                                        DAVID P. KOWAL
11                                      RASHA GERGES
                                        Assistant United States Attorney
12
                                              Attorneys for Plaintiff
13                                            United States of America
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                          2
     Case 2:07-cr-00689-GW Document 163 Filed 08/03/08 Page 3 of 6 Page ID #:1184



 1        GOVERNMENT'S OBJECTION TO DEFENDANT'S INSTRUCTION RE S.B.420
 2          The government objects to this statement and unnecessary and
 3   incorrect.    First, Agent Reuter's testimony was correct in that
 4   People v. Kelly, 77 Cal.Rptr.3d 390 (Cal. App. 2008) did overturn
 5   that portion of SB 420 or Medical Marijuana Program regarding
 6   California Health and Safety Code 11362.77, which sought to put
 7   caps on the amount of marijuana per patient.         Kelly, 77
 8   Cal.Rptr.3d at 130-32 (finding section 11362.77 unconstitutional
 9   as legislative amendment to Companionate Use Act).
10          Moreover, as the defense has stated on numerous occasions,
11   the text of SB 420 has not been introduced in this trial for the
12   truth, but for its impact on defendant's state of mind.           Thus,
13   the recent overturning of portions of SB 420 remain irrelevant,
14   and no jury instruction is needed.
15
16   //
17
18   //
19
20   //
21
22   //
23
24   //
25
26   //
27
28   //

                                          1
     Case 2:07-cr-00689-GW Document 163 Filed 08/03/08 Page 4 of 6 Page ID #:1185



 1   GOVERNMENT'S ADDITIONAL PROPOSED REVISIONS TO JURY INSTRUCTIONS
 2                           JURY INSTRUCTION NO. 36
 3   (Second unnumbered instruction, "Defense-Entrapment by Estoppel",
 4   on pages 11-12)
 5   Fourth Paragraph, Third Sentence (bottom of p.11)
 6        DELETE:      "As to the third element, the advice or permission
 7   received from the federal official must be more than a vague or
 8   even contradictory statement."
 9        INSERT:      "As to the third element, the advice or permission
10   received from the federal official must be more than a vague or
11   even contradictory statement.       Nor can this element be met by a
12   mere failure by a federal official to inform or assist the
13   defendant."
14        BASIS:       Lavin v. Marsh, 644 F.2d 1378, 1382 (9th Cir.
15   1981) ("[T]o invoke estoppel against the Government, the party
16   claiming estoppel must show ‘affirmative misconduct’ as opposed
17   to mere failure to inform or assist.") (citation omitted); see
18   Raley v. Ohio, 360 U.S. 423, 438 (1959) (finding entrapment where
19   state engaged in "active misleading"); United States v. Hancock,
20   231 F.3d 557, 567 (9th Cir. 2000) ("[T]he defendant must show
21   ‘that the government affirmatively told him the proscribed
22   conduct was permissible, and that he reasonably relied on the
23   government’s statement’") (citation omitted); United States v.
24   Woodley, 9 F.3d 774, 779 (9th Cir. 1993) (without affirmative
25   representation, defendant could not make prima facie showing in
26   support of entrapment-by-estoppel defense).
27
28

                                          2
     Case 2:07-cr-00689-GW Document 163 Filed 08/03/08 Page 5 of 6 Page ID #:1186



 1                         JURY INSTRUCTION NO. 36(a)
 2   (Proposed Instruction After “Entrapment By Estoppel” Instruction)
 3        INSERT:     "You heard references to documents seized by the
 4   government from defendant's business and home.          As required by
 5   law and this Court's orders, all of these documents were made
 6   available for inspection and copying by the defendant and his
 7   counsel prior to trial."
 8        BASIS:      Pursuant to Rule 16(E) and the Court's pretrial
 9   order, the government made available to defense for inspection
10   and copying all documents seized from him in August 2007.
11   Defense counsel specifically made copies in June 2008.           These
12   facts were all set forth in the Government's Filing In Support of
13   Summary Charts and supporting declaration and exhibits, filed on
14   July 24, 2008 (Docket Number 129).        At a hearing on the charts
15   issue, defense counsel stated that they did not dispute these
16   facts.   However, when questioned about his retention of notes
17   regarding his phone conversation with DEA, defendant made
18   reference to all the documents seized by the government, giving
19   the false impression that defendant did not have access to all
20   these documents.     This instruction is necessary to rebut that
21   false impression.
22   //
23   //
24   //
25   //
26   //
27   //
28   //

                                          3
     Case 2:07-cr-00689-GW Document 163 Filed 08/03/08 Page 6 of 6 Page ID #:1187



 1                                   CONCLUSION
 2        The government respectfully objects to defendant's
 3   instruction and requests the above changes be made to the jury
 4   instruction.
 5   Dated: August 3, 2008              Respectfully submitted,
 6                                      THOMAS P. O’BRIEN
                                        United States Attorney
 7
                                        CHRISTINE C. EWELL
 8                                      Assistant United States Attorney
                                        Chief, Criminal Division
 9
10                                                /s/
                                        DAVID P. KOWAL
11                                      RASHA GERGES
                                        Assistant United States Attorney
12
                                              Attorneys for Plaintiff
13                                            United States of America
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                          4
